Case 2:04-Cv-02999-.]PI\/|-tmp Document 20 Filed 08/04/05 Page 1 of 3 Page|D 28

 

IN THE UNITED STATES DISTRICT coURT pugh BY CFZ n_g,
FoR THE wEsTERN DISTRICT oF TENNESSEE w
wEsTERN DIvisIoN 05 AUG _,h PH 3,30
BILLY waLER, TED waLER, NO%».'¢¢‘S!M,§OULD

CLEHK¢ US Q:._‘f;}_h'§t'"r mm

ALAN WAXLER, DAMON WAXLER, f VV “m
,Bh¢ @rmwds

WAXLER TOWING COMPANY, INC.,
WAXLER TRANSPORTATION COMPANY,
INC., WAXLER BARGE, LLC, WAXLER
PROPERTIES, and WAXLER TOWING
COMPANY PARTNERSHIP,

Plaintiffs/Counter-Defendants,
Cause No. 04-2999F Ml/P
vs. Judqe McCalla
Judge Pham
BRIAN ZODY,

Defendant/Counter-Plaintiff.

 

'§GREEUFURDER EXTENDING TIME FOR PLAINTIFFS/
COUNTER-DEFENDANTS TO DESIGNATE EXPERTS

 

The parties have agreed, and the Court orders, that the
Scheduling Order entered herein on March 3, 2005 is hereby amended
as follows:

l. Identify experts in compliance with Fed. R. Civ. P.
26(&)(2):

By plaintiffs/counter-defendants: August 8, 2005
The remaining dates and deadlines contained in the previous

Scheduling Order entered herein remain unchanged.

This the ii day of August, 2005.
’WJ\. P@w~

v` ' .
Tu M. Pham, United States
Magistrate Judge

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with Ru|e 58 and/or 79(a) FF\CF’ on

Case 2:04-Cv-02999-.]PI\/|-tmp Document 20 Filed 08/04/05 Page 2 of 3 Page|D 29

AGREED TO:

BRATTON & 'NEAL, P.C.

 

By

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:04-CV-02999 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

